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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


REJON TAYLOR, et al.,

                          Plaintiffs,

                  v.
                                             Case No.
DONALD J. TRUMP, et al., in their official
capacities,

                          Defendants.



                        EXPERT AFFIDAVIT OF PAUL GIBSON
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